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Ronald Appel, Esq. SBN 132023
APPEL & APPEL

2522 Chambers Road

Tustin, CA 92780

(714) 573-4090
attorneyrappel@gmail.com

Attorneys for Secured Creditor Farmers & Merchants Bank of Long Beach

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

In re: ) Chapter 13
)
Linda M. Veerkamp ) Bankruptcy Case No. 2:23-bk-17901-VZ
)
) DECLARATION OF RONALD
Debtor, ) APPEL RE: SERVICE OF MORTGAGE
) STATEMENTS
)
)
)
)
)
I, Ronald Appel, declare and state as follows:
1, I am an attorney at law duly licensed to practice law before all of the Federal and State

Courts in the State of California and I am the attorney of record for Movant Farmers & Merchants Bank

of Long Beach.

2. I have personal knowledge of the facts stated herein. If called to testify hereto, I could
and would competently do so under oath.

a. A hearing was held on March 12, 2024 on Movant’s motion for Relief from Automatic
Stay.
HI
MI

ai.
Declaration re: Service of Mortgage Statements

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4. The Court conditionally granted the motion requiring me to provide Debtor’s Counsel

with 3 monthly mortgage statements to enable the Debtor to apply for State relief with mortgage

assistance.

>, On Sunday, March 31, 2024, I emailed 3 monthly mortgage statements to Debtor’s
Counsel.

6. Attached hereto is Exhibit “A” is a true and exact copy of the email and the 3 monthly

mortgage statements (additional copies for the Debtor, her Counsel, and all interested parties).

7. I am filing this Declaration and lodging the Order for Relief.

I declare under penalty of perjury that the foregoing is true and correct this first day of April, 2024,

at Tustin, California. |

Ronald Appel, Declarant’ / | \

=).
Declaration re: Service of Mortgage Statements

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Exhibit “A”
WIV24, 96 PM Gmail - Veerkamp

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7 Gmail Ron Appel <attorneyrappel@gmail.com>

Veerkamp
1 message

Ron Appel <attorneyrappel@gmail.com>

Sun, Mar 31, 2024 at 5:58 PM
To: "jdh@cornerstonelawcorp.com" <jdh@cornerstonelawcorp.com>

Attached are 3 monthly statements per the Court Order.

Ronald Appel, Esq.

=) Veerkamp.pdf
— 290K

https://mail.google.com/mail/u/0/?ik=f290264361 &view=pt&search=all&permthid=thread-a:15566411 853753955690&simpl=msg-a:r472192095037614... 1/1
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F&M Bank of Long Beach
Loan Servicing

PO Box 337

Lakewood, CA 90714-0337
(562) 495-7710

Linda Marie Veerkamp
18320 Regina Ave
Torrance CA 90504-4612

FOR INFORMATIONAL PURPOSES ONLY

ACCOUNT NUMBER PAYMENT DUE DATE TOTAL AMOUNT DUE
9027002738 01/09/2024 $11,382.43
Past Due Amount SO,377+.93

Current Amount Due
Interest $1,917.80
Charges $86.90
Sub Total $2,004.70
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SPECIAL
F&M Bank of Long Beach
Loan Servicing
PO: Box. 337
Lakewood, CA 90714-0337
(562) 495-7710
Linda Marie Veerkamp
18320 Regina Ave
Torrance CA 90504-4612
FOR INFORMATIONAL PURPOSES ONLY
ACCOUNT NUMBER PAYMENT DUE DATE TOTAL AMOUNT DUE
9027002738 02/10/2024 $13,180.37

Past Due Amount $11,382.43

Current Amount Due
Interest $1,797.94
Case 2:23-bk-17901-VZ

F&M Bank of Long Beach
Loan Servicing

PO Box 337

Lakewood, CA 90714-0337
(562) 495-7710

Linda Marie Veerkamp

18320 Regina Ave

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Torrance CA 90504-4612

FOR INFORMATIONAL PURPOSES ONLY

ACCOUNT NUMBER
9027002738

Past Due Amount

Current Amount Due

PAYMENT DUE DATE TOTAL AMOUNT DUE
03/11/2024 $14,978.32
$13,180.37

Interest $1,797.95
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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

A true and correct copy of the foregoing document entitled (specify): Declaration of Ronald Appel re: Service of Mortgage
Statements

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
April 1, 2024, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

KK Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) April 1, 2024, | served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

Linda M. Veerkamp
18320 Regina Avenue
Torrance, CA 90504

A Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) , | served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration

that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

QO Service information continued on attached page

| declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

apn

Date April 1, 2024 Printed Name Ronald Appel, Esq. Signature

Vv

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE

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Junior Lienholder

Ronald Pearlstein Profit Sharing
Plan Entrust #00393

c/o Danco

2476 Overland Ave., Suite 203
Los Angeles, CA 90064
